226 F.2d 781
    Margaret Fallon PALMER, Appellant,v.Harriet R. SEARLE, Appellee.Margaret Fallon PALMER, Appellant,v.William D. SEARLE, Appellee.
    No. 12657.
    No. 12658.
    United States Court of Appeals District of Columbia Circuit.
    Argued October 18, 1955.
    Decided November 3, 1955.
    
      Mr. Joseph E. Casey, Washington, D. C., for appellant.
      Mr. Dale D. Drain, Washington, D. C., with whom Mr. B. Woodruff Weaver, Washington, D. C., was on the brief, for appellees.
      Before PRETTYMAN, WILBUR K. MILLER and BASTIAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appellant was plaintiff in two civil actions for damages, one against the driver and the other against the owner of an automobile which was in collision with plaintiff's car. The trial court, hearing the case without a jury, made findings of fact and conclusions of law favorable to the defendants, for whom judgment was thereupon entered.
    
    
      2
      We are not at liberty to set aside findings of fact of the trial court unless they are clearly erroneous1; and since, in our opinion, the findings in this case are not clearly erroneous, the judgment must be and is
    
    
      3
      Affirmed.
    
    
      
        Notes:
      
      
        1
         Rule 52(a) F.R.Civ.P., 28 U.S.C.A
      
    
    